Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 1 of 22 PagelD# 125

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

WALTON GLOBAL INVESTMENTS,
LTD., et al.,
Plaintiffs,
Vv. Civil Action No. 3:23-cv-87

BOWMAN CONSULTING GROUP,
LTD.,

Defendant.

MEMORANDUM OPINION

This matter is before the Court on DEFENDANT’S MOTION TO
DISMISS (ECF No. 9) pursuant to Fed. R. Civ. P. 12(b) (6) (“the
Motion”). For the reasons set forth below, the Motion will be
granted without prejudice and with leave to file an Amended
Complaint.

Background

Walton Global Investments, Ltd. (“Walton Global”) and Walton
Virginia, LLC (“Walton Virginia”) (“Walton” or “Plaintiffs” when
referred to collectively) filed this action against Bowman
Consulting Group, Ltd. (“Bowman” or “Defendant”), alleging that
Bowman breached the contract between it and Walton Global for
consulting services. COMPLAINT (ECF No. 1). Those services
concerned a parcel of land in Powhatan County, Virginia (referred

to as “the Property”). The COMPLAINT alleges that Bowman provided
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 2 of 22 PagelD# 126

an erroneous analysis of “the development potential [of,] and [the]
risk profile [of,] . . . the Property,” and that Bowman omitted an
analysis of restrictive proffers that significantly limited the
Property’s development potential. Compl. {{ 7-8, 11.

In April 2018, Walton Global was considering whether it would
purchase the Property, a seventy-four-acre parcel of land in
Powhatan County, Virginia, where it planned to develop “several
hundred single and multi-family units.” Compl. 4 7, 13. On or
about April 18, 2018, “[{t]o assist with a due diligence feasibility
study and concept plan for the Property,” Walton Global entered
into a contract with Bowman to perform the analysis (referred to
as “the Contract”), allegedly with the intention “to help Walton
Global decide whether to waive its feasibility study contingency”
and whether to purchase the Property. Compl. { 8. Approximately a
week later, on April 25, 2018, Walton Virginia separately entered
into a contingent contract to purchase the Property, which included
a sixty-day feasibility study period before Walton Virginia had to
“go firm” on the purchase contract. Compl. qq 8-9.

Bowman returned its Due Diligence Report and Concept Plan
(referred to as “the Report”) to Walton Global in June 2018. Compl.
{ 10. The Report included Bowman’s expert opinion and analysis
concerning the feasibility of “up-zoning” the Property, allegedly
with the “express purpose of helping inform Walton Global’s

decision whether to go forward with its as-planned purchase.”

2
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 3 of 22 PagelD# 127

Compl. § 10. However, the Report failed to “include any analysis
of restrictive ‘proffers’ of record which then encumbered the
subject property” and instead assured Walton Global that there
were no such proffers on the Property. Compl. { 11. The failure to
have discovered the restrictive proffers is said to have led toa
flawed analysis of the feasibility of transforming the Property in
the manner planned by Walton Global. Compl. q 12. The Report
advised that the Property could be up-zoned when, in reality, the
proffers significantly limited the development of the Property
“and drastically reduced the market value of the Property for any

buyer . . . looking to purchase the land for that supposed
up-zoning potential.” Compl. §§ 11, 13, 15.

In good faith reliance on the tendered Report and with no
knowledge of the restrictive proffers, Walton Virginia (described
in the COMPLAINT as “an affiliate beneficiary under the Bowman
Contract”) waived feasibility and purchased the Property in July
2018. Compl. § 14. It is alleged that, if the Report had disclosed
the restrictive proffers and had properly concluded that the
proposed up-zoning could not occur, Walton Global (through Walton
Virginia)! never would have purchased the Property because the

value of the Property is estimated at $1,150,000 when taking into

 

1 That is actually what the COMPLAINT alleges even though earlier
the COMPLAINT alleges that Walton Virginia was the Walton entity
that was a party to the contract to purchase the Property.

3
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 4 of 22 PagelD# 128

account the restrictive proffers rather than an estimated value of
$6,600,000 if Walton been able to up-zone the Property as
contemplated. Compl. 4 17-18.

To recover the difference between the expected value of the
Property and the actual value of the Property (among other relief),
the COMPLAINT asserts two claims against Bowman. COUNT ONE alleges
a breach of contract and professional negligence claim for “failing
to discover and timely disclose the existence of the Subject
Proffers” when disclosure was necessary to produce a Report that
met the requirements of the Contract. Compl. { 20. It is then
alleged that this breach of contract led Walton Virginia to
purchase the Property, so both Walton Global and Walton Virginia
suffered compensable money damages. Compl. § 21. COUNT TWO presents
an additional and/or alternative theory of recovery based on
constructive fraud/negligent misrepresentation/non-disclosure
because Bowman had a duty to discover and disclose the restrictive
proffers and knew that both Walton Global and Walton Virginia would
rely on any representations made in the Report. Compl. 4 24-27.
Bowman seeks dismissal of both counts.

DISCUSSION

Bowman asserts four reasons in support of its Motion to
Dismiss. Each argument is addressed in turn. For the reasons set
forth below, the Motion will be granted without prejudice and with

leave to file an Amended Complaint.
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 5 of 22 PagelD# 129

I. Legal Standard

“To survive a motion to dismiss [under Rule 12(b)(6)], a
complaint must contain sufficient factual matter, accepted as
true, to ‘state a claim to relief that is plausible on its face.'"

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic

 

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The plaintiff need
not provide “detailed factual allegations,” Twombly, 550 U.S. at
555, but must provide enough factual context so the court can draw
reasonable inferences that there is “more than a sheer possibility
that the defendant acted unlawfully.” Igbal, 556 U.S. at 678. Legal
conclusions, a bare recitation of the elements of a claim, and
“naked assertions devoid of further factual enhancement” are
insufficient. Id. (quoting Twombly, 550 U.S. at 555, 557).

Factual allegations—but not legal conclusions—are accepted as
true for the purpose of evaluating the motion. Bell Atlantic Corp.
v. Twombly, 550 U.S. 544, 555 (2007). If the alleged facts make
clear that, as a matter of law, “no relief could be granted under
any set of facts that could be proved consistent with the
allegations,” the court can dismiss the claims. Neitzke v.
Williams, 490 U.S. 319, 326-27 (1989) (quotations omitted).

When evaluating a Rule 12(b) (6) motion, the court may rely on
“the complaint in its entirety” and “documents attached or

incorporated into the complaint.” E.I. du Pont de Nemours & Co. v.

 

Kolon Indus., Inc., 637 F.3d 435, 448 (4th Cir. 2011). A document

 
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 6 of 22 PagelD# 130

is incorporated into the complaint when “it is integral to the
complaint and there is no dispute about the document's
authenticity.” Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159,
166 (4th Cir. 2016). A court may also take judicial notice of
Matters of public record and “adjudicative facts” pursuant to
Federal Rule of Evidence 201(b) when considering a Rule 12(b) (6)
motion. Goldfarb v. Mayor & City Council of Balt., 791 F.3d 500,
508 (4th Cir. 2015); Greenhouse v. MCG Cap. Corp., 392 F.3d 650,
657 (4th Cir. 2004). However, judicial notice should not “be used
as an expedient for courts to consider matters beyond the pleadings
and thereby upset the procedural rights of litigants to present
evidence on disputed matters.” Waugh Chapel S., LLC v. United Food

& Com. Workers Union Loc., 728 F.3d 354, 360 (4th Cir. 2013)

 

(quotations omitted). If the court does take judicial notice of a
document, the facts within that document must be construed in a

light favorable to the plaintiff. Zak v. Chelsea Therapeutics

 

Int‘l, Ltd., 780 F.3d 597, 607 (4th Cir. 2015). If a court chooses
to go beyond these documents, the Rule 12(b) (6) motion converts
into one for summary judgement, which is governed by Rule 56. Fed.
R. Civ. P. 12(d).
II. Parties’ Arguments

a. Bowman’s Memorandum of Law in Support

First, Bowman argues that Walton Virginia was not a party to

the Contract, so it lacks standing to bring a claim for breach of

6
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 7 of 22 PagelD# 131

contract under COUNT ONE. ECF No. 10 at 5S. Relatedly, Bowman
contends that Walton Virginia is not an intended third-party
beneficiary of the Contract because Walton Virginia and Walton
Global are two separate entities and there is no language in the
Contract indicating that Walton Global and Bowman intended to
confer a benefit on Walton Virginia. Id. at 6. Instead, says
Bowman, Walton Virginia is an incidental beneficiary, and, under
Virginia law, incidental beneficiaries do not have standing to sue
for breach of contract. Id. (quoting Thorsen v. Richmond Soc'y for

the Prevention of Cruelty to Animals, 786 S.E.2d 453, 462 (Va.

 

2016)). Accordingly, Bowman concludes that Walton Virginia’s claim
for breach of contract under COUNT ONE should be dismissed with
prejudice. ECF No. 10 at 7.

Second, Bowman argues that COUNT TWO as pleaded by Walton
Virginia is barred by Virginia’s economic loss rule because “a
plaintiff may not rely on a theory of tort negligence to recover
economic losses against a defendant.” ECF No. 10 at 7-8. Rather,
Bowman contends, the law of contracts should govern, but, because
Walton Virginia is not in privity with Bowman, it cannot recover
purely economic damages. Id. at 8-9. Bowman further emphasizes
that the COMPLAINT lacks any factual allegations showing that

Bowman was in privity with Walton Virginia or that Walton Virginia
Case 3:23-cv-00087-REP Document14 Filed 06/22/23 Page 8 of 22 PagelD# 132

suffered physical injury to person or property. Id. At 9-10.
Accordingly, Bowman argues that Walton Virginia cannot recover
under COUNT TWO and, therefore, COUNT TWO should be dismissed with
prejudice. Id. at 11-12.

Third, Bowman contends that Walton Global cannot bring a claim
for breach of contract because Walton Global received the benefit
of the bargain by receiving a “finalized due diligence report and
concept plan.” ECF No. 10 at 13-14. Additionally, Bowman asserts
that the agreed upon terms of the Contract “relieve Bowman from
claims of damages allegedly caused by professional negligence”
because the release clause states that Bowman “‘shall not be liable

for any special, incidental, or consequential damages
whatsoever arising out of, resulting from, or in any way related
to’"” the Report.? Id. at 14-15 (quoting ECF No. 10-1 at 12). Bowman
asserts that the alleged injury is a consequential damage because
Walton Global’s transfer of the Report and Walton Virginia’s
failure to seek other assessments as recommended in the Report
“break[] any link between Bowman’s work and the resulting alleged
limitations to development to the land,” so Walton Global cannot

seek recovery. ECF No. 10 at 15-16. Bowman then argues that Walton

 

2 The Contract is integral to the COMPLAINT because it is the
source for the breach of contract claims and is specifically relied
upon throughout the COMPLAINT. Accordingly, it can be considered
at this stage of the proceedings and will be construed in the light
most favorable to the Plaintiffs. Zak v. Chelsea Therapeutics
Int’l, Ltd., 780 F.3d 597, 607 (4th Cir. 2015).

 

8
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 9 of 22 PagelD# 133

Global does not have standing to claim damages arising from the
purchase of the property because Walton Virginia bought and
currently owns the Property while Walton Global has never had an
ownership interest in the Property and there are no facts alleged
in the COMPLAINT that show a connection between the two entities
or that Walton Global was involved in the purchase of the Property.
Id. at 16-17.

Fourth, Bowman argues that COUNT TWO must be dismissed with
prejudice as to Walton Global because, under Virginia’s source of
duty rule, “{a] plaintiff may not rely on a theory of tort
negligence to recover economic losses against a defendant.” ECF
No. 10 at 18. Bowman contends that any duty it owed to Walton
Global was established in the Contract for the Report, which is
governed by the law of contracts rather than the law of torts. Id.
at 19-20. Accordingly, Bowman argues that that the tort claims in
COUNT TWO are impermissibly asserted. Id. at 20-21.

b. Walton’s Memorandum of Law in Opposition

Walton argues that, overall, the issues that Bowman raises
cannot be resolved at this stage of the litigation because they
cannot be resolved until after a fact-intensive inquiry. ECF No.
11 at 6-7. As to COUNT TWO, Walton argues (while also admitting
that it was “arguably unartfully worded”) that the claim is
“actually based on the Contract’s subsuming within it Bowman’s

professional obligations to not fail to disclose or engage in

9
Case 3:23-cv-00087-REP Document14 Filed 06/22/23 Page 10 of 22 PagelD# 134

constructive fraud” rather than a claim based in tort law, so any
argument raised by Bowman on the basis that COUNT TWO wrongfully
asserts tort claims is simply a misapprehension of what COUNT TWO
alleges. Id. at 10 n.7, 15.

Responding specifically to each of Bowman’s arguments, Walton
first argues that Walton Virginia was an intended third-party
beneficiary of the contract for three reasons: (i) The contract
contains numerous references to Walton Virginia, including

“references to ‘affiliates’ of Walton Global, [references] to

entities claiming ‘through’ Walton Global, and” specific
references “to Walton Virginia itself”; (ii) “(T]he Complaint
expressly alleges that Walton Virginia is ‘an affiliate
beneficiary under the Bowman contract’”; and (iii) Walton and

Bowman had a prior course of dealing, so Bowman should have been
aware that its services would have been for the benefit of Walton
Global and its affiliates, including Walton Virginia. Id. at 8-
10. Accordingly, because Walton Virginia is a beneficiary of the
contract, Walton asserts that Walton Virginia has standing to
assert both claims. Id. at 10-11.

Second, Walton argues that Walton Global did not receive the
benefit of its bargain because the Report was “materially
misleading and just plain wrong—clearly not what Walton hired and
paid the Defendant to provide.” ECF No. 11 at 11. Walton goes on

to say that Bowman was aware that Walton Global would rely on the

10
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 11 of 22 PagelD# 135

Report to decide whether to purchase the Property, and because it
indeed did rely on the faulty Report, it suffered damages that
were a direct result of Bowman’s breach. Id. at 12. As for the
release clause, Walton contends that the Contract only limits truly
consequential damages, such as “lost profits on houses Walton could
have built and sold,” but that the Contract does not preclude the
damages here because reliance on the Report to purchase the
Property is a direct damage that was “an entirely predictable
result of Bowman’s failure to deliver an accurate analysis of the
Property.” Id. at 13-14. As to Bowman’s argument that Walton Global
aid not incur any damages because it was not the entity that
purchased the Property, Walton argues that the COMPLAINT alleges
that both entities were damaged, which must be construed as true,
in the absence of any evidence that Walton Global was not damaged.
Id. at 14-15.

Third, Walton Global argues that the source of duty rule would
not preclude it from asserting COUNT TWO because, as discussed
briefly above, COUNT TWO is based on the professional duties
established by the Contract rather than any duties created under
the law of torts. ECF No. 11 at 15. Walton Global asserts that it
simply made an organizational decision to separate the breach into

two counts rather than one. Id. at 16.

11
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 12 of 22 PagelD# 136

c. Bowman's Reply

As for the third-party beneficiary issue, Bowman contends
that the text of the COMPLAINT makes clear that Walton Virginia
and Walton Global are separate entities and that there are “no
facts surrounding the contractual transaction and the formation of
the Contract in order to support an argument that the Contract was
intended to confer a benefit upon Walton Virginia.” ECF No. 12 at
2. Additionally, Bowman argues that there are no _ factual
allegations concerning the parties’ prior dealings, and, that
therefore, those dealings cannot be considered when deciding the
third-party beneficiary issue because “Plaintiffs may not raise
new facts in opposing dismissal and ask the Court to rely on those
facts in determining whether they have stated a claim.” Id. at 2-
4. Bowman also contests whether the plain language of the Contract
signals that Walton Virginia was an intended beneficiary,
especially considering that the name of the entity was only used
once in passing, and there is language that expressly limits the
benefits of the agreement to the “parties hereto.” Id. at 5-9
(quoting ECF No. 10-1 at 15).

The remainder of the arguments in Bowman’s Reply mirror the

arguments made in its opening brief.

12
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 13 of 22 PagelD# 137

III. Analysis

a. Walton Virginia as Third-Party Beneficiary in COUNT ONE

An intended beneficiary has standing to sue because the
parties to the contract “agreed between themselves to bestow a
benefit upon the third party but one of the parties to the
agreement fails to uphold his portion of the bargain.” Copenhaver
v. Rogers, 384 S.E.2d 593, 596 (Va. 1989). In contrast, “[a]Jn
incidental beneficiary is so far removed from the obligations
assumed by the contracting parties that a court will not allow him

to sue on that contract.” Thorsen v. Richmond Soc’y for the

 

Prevention of Cruelty to Animals, 786 S.E.2d 453, 462 (Va. 2016).
“While a contract may expressly state such an intent to benefit a
third party, evidence of such intent need not be limited to the
four corners of the contract” and can be shown by the surrounding
circumstances and other “modes of expression of intent.” Tingler
v. Graystone Homes, Inc., 834 S.E.2d 244, 268-69 (Va. 2019)
(quotations omitted).

Under Virginia law, “[a] nonparty [to a contract] must allege
facts sufficient to conclude that it was a ‘clearly and definitely
intended beneficiary’” in order to bring a breach of contract claim
because “‘[aJn incidental beneficiary has no standing to sue.’”
Thorsen v. Richmond Soc’y for the Prevention of Cruelty to Animals,

786 S.E.2d 453, 462 (Va. 2016) (quoting Kelly Health Care, Inc. v.

 

Prudential Ins. Co., 309 S.E.2d 305, 307 (Va. 1983)). Federal

13
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 14 of 22 PagelD# 138

pleading standards require no less. See Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S.

 

544, 555-57 (2007).
As is clear from the COMPLAINT and the Contract, Walton Global
and Bowman were the only two parties to the Contract. Compl. q 8;
ECF No. 10-1 at 10. Accordingly, for Walton Virginia to have
standing to bring a breach of contract claim, it must have clearly
and definitely been an intended beneficiary of the Contract.
The Contract clearly and unambiguously states:
This Agreement is solely for the benefit of the parties
hereto and, to the extent provided herein, their
respective affiliates, directors, officers, employees,
agents and representatives, and no provision of this
Agreement shall be to confer upon third-parties any

remedy, claim, liability, reimbursement, cause of
action, or other right.

 

 

 

 

ECF No. 10-1 at 15 (emphasis added). This means that an affiliate
or representative of Walton Global would be an intended beneficiary
of the Contract “to the extent provided [in the Contract],” but a
separate third-party would not. Id. The COMPLAINT provides little,
if any, information on the relationship of Walton Global to Walton
Virginia beyond providing the necessary information to determine
whether the Court has jurisdiction and a conclusory statement that
Walton Virginia is “an affiliate beneficiary under the Bowman

Contract.” Compl. |§ 1-2, 14.3 Being “an affiliate beneficiary” is

 

3 Bowman cites § 1-2 of the COMPLAINT to argue that Walton Global
and Walton Virginia admitted that they are two “completely separate

14
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 15 of 22 PagelD# 139

a confusing and conclusory term. That language does not satisfy
the federal pleading standards.‘ However, Walton Virginia is listed
in the Contract as the billing entity that is responsible for
making the payments specified in the Contract, which suggests that
there is some relationship between the two entities that was known
to Bowman when executing the Contract. ECF No. 10-1 at 19.

In its response, Walton alleges that there was a prior course
of dealing between the three entities that would have alerted
Bowman to the relationship between Walton Global and Walton
Virginia. However, that is not alleged in the COMPLAINT, and,
therefore, any prior course of dealings cannot be considered in

deciding the Motion. Bishop v. 7-Eleven, Inc., No. 4:11l-cv-73,

 

2011 WL 13192917, at *1 (E.D. Va. Aug. 9, 2011) (“It is axiomatic
that the complaint may not be amended by the briefs in opposition
to a motion to dismiss.” (quotations and alterations omitted)).
Accordingly, the Court must grant the Motion as to Walton
Virginia on COUNT ONE. However, considering what appears in the
COMPLAINT and in the briefs, this dismissal must be without

prejudice and with leave to amend so that additional information

 

and distinct entities.” ECF No. 10 at 6. However, making all
reasonable inferences in favor of the Plaintiffs, the COMPLAINT
cannot be read to admit that. Accordingly, the Court will disregard
Bowman’s reading of | 1-2 of the COMPLAINT.

4 The statement that Walton Virginia is an affiliate beneficiary
is a conclusion of law and thus cannot be accepted as true. Bell
Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

15
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 16 of 22 PagelD# 140

might be added to the COMPLAINT, if appropriate, about: (1) the
business relationship, if any, between Walton Global and Walton
Virginia; and (2) what, if any, prior course of dealings occurred
that would have given reasonable notice to Bowman that Walton
Virginia would be an intended beneficiary of the Contract.

b. Economic Loss Rule as to Walton Virginia in COUNT TWO

Under Virginia law, “losses suffered as a result of the breach
of a duty assumed only by agreement, rather than a duty imposed by
law, remain the sole province of the law of contracts.” Filak v.
George, 594 S.E.2d 610, 618 (Va. 2004). Thus, “when a plaintiff
alleges . . . nothing more than disappointed economic expectations
assumed only by agreement, the law of contracts, not the law of
torts, provides the remedy for such economic losses.” Id.
Accordingly, the parties must be in privity for a plaintiff to

recover purely economic damages from a defendant because the claim

cannot be brought as a tort claim. Blake Constr. Co., Inc. v.

 

Alley, 353 S.E.2d 724, 726 (Va. 1987); see also Copenhaver v.

 

Rogers, 384 S.E.2d 593, 595 (Va. 1989) (“It is settled in the
Commonwealth that no cause of action exists in... cases [solely
for economic loss] absent privity of contract.”). “In privity” for
the purpose of bringing a breach of contract claim for solely
economic loss includes “clearly and definitely intended” third-

party beneficiaries. Copenhaver, 384 S.E.2d at 595-96.

16
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 17 of 22 PagelD# 141

COUNT TWO asserts a claim for constructive fraud, negligent
misrepresentation, and/or non-disclosure based on Bowman’s duty to
discover and disclose the proffers. Compl. 4 24-27. The COMPLAINT
attributes the source of this duty to both contract and tort law.
Compl. { 25. However, the response brief describes COUNT TWO as a
claim for “breach by the Defendant of its professional duties—
subsumed within the enforceable under—the Contract” and that COUNT
TWO “seeks damages related to the Defendant’s breach of its
obligations to not misrepresent, and to fully disclose, conditions
and features of the Property” as described in the Contract. ECF
No. 11 at 12.

The first part of that sentence asserts that COUNT TWO sounds
in contract. The second part sounds in tort.’ The COMPLAINT is
quite unclear as to what claim Walton actually is attempting to
assert and whether that claim would come from tort or contract
law. Indeed, Walton even admitted in its response that COUNT TWO
was “unartfully worded.” ECF No. 11 at 12. That is a substantial
understatement. The briefing perpetuates the confusion.

Accordingly, the Court will grant the Motion without prejudice and

 

5 “[B]reach of its obligations to not misrepresent, and to fully
disclose, conditions and features of the Property.” ECF No. 11 at
12.

17
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 18 of 22 PagelD# 142

with leave to amend with the advice that the Plaintiffs make it
clear what claims are being asserted and what the source of law
is.&

c. COUNT ONE as to Walton Global

Bowman makes essentially three arguments for why COUNT ONE
should be dismissed as to Walton Global: (1) there is nothing to
suggest Walton Global actually purchased the property; (2) the
damages sought by Walton Global are not direct damages and thus
cannot be brought because of the “release clause” of the Contract’;
and (3) Walton Global received the benefit of its bargain by
acknowledging that it received a finished Report. ECF No. 10 at
13-17. The first argument alone leads the Court to grant the Motion
without prejudice and with leave to amend because, as Bowman
correctly notes, the COMPLAINT does not plead that Walton Global
was financially involved in the purchase of the Property. Rather,
the COMPLAINT alleges that Walton Virginia bought the Property in

good faith reliance on Bowman’s Report (which it presumably

 

& Even if the Court assumes that COUNT TWO is based in the law of
contracts, the Motion would still be granted without prejudice and
with leave to amend as to Walton Virginia because, as discussed
above, it is not clear from the COMPLAINT whether the Court can
conclude that Walton Virginia is an intended third-party
beneficiary of the Contract and thus is in privity with Bowman to
be able to assert a contract-based claim for purely economic loss.

7 The “release clause” of the Contract provides that Bowman “shall
not be liable .. . for any special, incidental, or consequential
damages whatsoever arising out of, resulting from, or in any way
related to” the Report. ECF No. 10-1 at 12.

18
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 19 of 22 PagelD# 143

received from Walton Global, but that fact is not alleged). Compl.
{ 14. Based on the COMPLAINT as tendered, the Court cannot conclude
that Walton Global purchased the property, which, as explained
below, would affect the analysis as to damages.§®

Under Virginia law, “[d]irect damages are those which arise
‘naturally’ or ‘ordinarily’ from a breach of contract” and “can be
expected to result from a breach.” Roanoke Hosp. Ass’n v. Doyle &
Russell, Inc., 214 S.E.2d 155, 160 (Va. 1975). In this case,
assuming that there was a breach of contract, the COMPLAINT as
written would sufficiently allege that Walton Global suffered
direct damages if it were involved in the purchase of the property
because Bowman was aware that Walton Global was using the Report
to decide if it would purchase the Property for redevelopment, so
purchasing the Property would be an expected result of the alleged
breach. Compl. ¢ 15. However, if Walton Global was not involved in
the purchase of the Property and instead gave the Report to Walton
Virginia without Bowman expecting it to, the damages to Walton
Global might more appropriately be considered consequential
damages because it would be “the intervention of ‘special

circumstances’ not ordinarily predictable.” Roanoke Hosp. Ass’n,

 

 

8 In its Response, Walton contends that the COMPLAINT alleges that
both parties were damaged, so the Court must take that allegation
as true. ECF No. 11 at 15. However, that allegation is a conclusory
statement of law, so the Court need not accept it as true nor
consider it when deciding the Motion. Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 555 (2007).

 

19
Case 3:23-cv-00087-REP Document14 Filed 06/22/23 Page 20 of 22 PagelD# 144

214 S.E.2d at 160. And, pursuant to the “release clause” of the
Contract (ECF No. 10-1 at 12), Walton Global waived its ability to
bring a breach of contract claim against Bowman for consequential
damages. Accordingly, more information on Walton Global's
involvement, if any, with the purchase of the Property is necessary
to decide this issue, so leave to amend on this basis will be
granted.

As for the third argument (benefit of the bargain), the Court
declines to address that argument at this time because it is
unnecessary to make a decision on whether the Motion should be

granted or denied on the current record. See O’Neal _v. Brennan,

 

No. 1:14-cv-1770, 2015 WL 11109492, at *2 (E.D. Va. May 27, 2015)
(“Because these arguments are so dispositive, the Court need not
consider the defendant’s other arguments.”) .9

d. Source of Duty Rule as to Walton Global in COUNT Two

As explained above, under Virginia law, “losses suffered as
a result of the breach of a duty assumed only by agreement, rather
than a duty imposed by law, remain the sole province of the law of
contracts.” Filak v. George, 594 S.E.2d 610, 618 (Va. 2004).
Because it is unclear whether COUNT TWO is asserting a claim under

the law of contracts or the law of torts (see infra Sec. III.b),

 

® Nonetheless, it is difficult to understand how receipt of a
defective report could be a benefit of the bargain. Counsel for
Bowman might reflect further on whether that theory should be
asserted on the next go round.

20
Case 3:23-cv-00087-REP Document 14 Filed 06/22/23 Page 21 of 22 PagelD# 145

the Motion will be granted without prejudice and with leave to
file an Amended Complaint as to COUNT TWO for Walton Global.
CONCLUSION

In sum, the Motion will be granted without prejudice and with
leave for Walton to file an Amended Complaint. Plaintiffs use
“Walton Global” and “Walton Virginia” interchangeably, so it is
difficult to discern whether both parties, or either of them, have
stated viable claims. Additionally, the COMPLAINT lacks
allegations concerning the relationship between the two Walton
parties and whether or to what extent Bowman was aware of the
relationship, which bears upon multiple issues that Bowman raised
in its Motion.?°

Accordingly, for the foregoing reasons, DEFENDANT’S MOTION TO
DISMISS (ECF No. 9) pursuant to Fed. R. Civ. P. 12(b) (6) will be
granted without prejudice and with leave to file an Amended
Complaint. When preparing the Amended Complaint, counsel for
Plaintiffs must study the basic principles of Virginia substantive
law, the basic law of contracts, and the federal law of pleadings.
Thereafter, they must present a well-pleaded complaint that is

understandable and that is in conformance with applicable law.

 

19 In its response, Walton accuses Bowman of failing to provide
evidence to the Court to support its arguments in the Motion. ECF
No. 11 at 15. But the burden is on Walton, not Bowman, to make the
factual allegations in the Complaint (or Amended Complaint) to
support its claims. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

 

21
Case 3:23-cv-00087-REP Document14 Filed 06/22/23 Page 22 of 22 PagelD# 146

And, when so doing, counsel must decide whether Walton Global
and/or Walton Virginia qualifies as a party to whatever contract
there was with Bowman. A repeat of the undisciplined approach to

pleading and substance will not again be given the benefit of leave

to amend.

It is so ORDERED.

/s/ Rl

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: June 2%?, 2023

22
